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                         THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT PIERCE DIVISION

                                         IN ADMIRALTY

  American Steamship Owners Mutual Protection
  and Indemnity Association, Inc.,

                       Plaintiff,
  v.                                                          CASE NO.:

  M/S MONARCH PRINCESS, a 1979 106
  meter cargo ship, IMO Number 7725374, her
  engines, tackle, appurtenances, spares, and
  equipment appertaining whether onboard or not,
  in rem and Monarch Shipping Company, Ltd.,
  in personam.

                    Defendants.
  _____________________________________

                                    VERIFIED COMPLAINT

        COMES      NOW,     Plaintiff,   AMERICAN        STEAMSHIP         OWNERS       MUTUAL

 PROTECTION AND INDEMNITY ASSOCIATION, INC. (the “American Club”), by and

 through undersigned counsel, and files this Verified Complaint against Defendants M/S

 MONARCH PRINCESS (the “Vessel”), a 1979 106 meter cargo ship, IMO Number 7725374, her

 engines, tackle, appurtenances, spares, and equipment appertaining whether onboard or not, in

 rem, and Monarch Shipping Company, Ltd. (“Monarch Shipping Co.”), in personam, and alleges

 as follows:

                           PARTIES, JURSIDICTION & VENUE

        1.     This is a cause within the admiralty and maritime jurisdiction of this Court pursuant

 to 28 U.S.C. § 1333 and is an admiralty and maritime claim within the meaning of Rule 9(h) of

 the Federal Rules of Civil Procedure and Rules B, C and E of the Supplemental Rules for Certain
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 Admiralty and Maritime Claims of the Federal Rules of Civil Procedure (the “Supplemental

 Admiralty Rules”).

        2.      This is an in rem action, brought pursuant to the federal Commercial Instruments

 and Maritime Liens Act (“CIMLA”), 46 U.S.C. §§ 31301–31343; Fed. R. Civ. P. 9(h); Rules B, C

 & E of the Supplemental Admiralty Rules; and general maritime law, against Defendant Vessel,

 to enforce and foreclose upon the American Club’s maritime lien for necessaries provided by the

 American Club to Defendant Vessel.

        3.      Plaintiff, the American Club, is a foreign corporation with its principal place of

 business located at One Battery Park Plaza, 31st Floor, New York, NY 10004, U.S.A. The

 American Club is a mutual protection and indemnity (“P&I”) club providing marine insurance to

 vessels, their shipowners, managers, and charterers against third-party liabilities encountered in

 their commercial operations.

        4.      The Vessel is a 1979 106 meter cargo ship, IMO Number 7725374, including her

 engines, tackle, appurtenances, spares, and equipment appertaining whether onboard or not, in

 rem.

        5.      In personam Defendant Monarch Shipping Co. was and is at all material times a

 privately owned company in the Bahamas that operates in South Florida. Monarch Shipping Co.’s

 principal business location is Sassoon House Shirley St. & Victoria Ave., P.O. Box N270, Nassau,

 Bahamas.

        6.      This United States District Court for the Southern District of Florida, Fort Pierce

 Division (the “District Court”), has jurisdiction and venue over this in rem action, and the subject

 Vessel, pursuant to 28 U.S.C. § 1333(1) & § 1391, 18 U.S.C. § 7, and U.S. Const. Art III, § 2,

 Clause 1, because the subject Vessel is located at the Fort Pierce Marine Terminal in St. Lucie
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 County, which is located in the Southern District of Florida.

         7.      Plaintiff, the American Club, contracted to provide P&I insurance to the Vessel

 owned by Monarch Shipping Co. Ltd. for the coverage period of 11 December 2019 to 20 February

 2022 (the “Policy Periods”).

          COUNT I – FORECLOSURE OF MARITIME LIEN FOR NECESSARIES

         8.      Plaintiff the American Club re-alleges and re-avers the allegations contained in

 paragraphs 1–7 as if fully set forth herein.

         9.      The American Club, on the order of the master, owner or authorized representative

 of the Vessel, provided the Vessel, inter alia, with P&I insurance services useful to the Vessel’s

 operations, that were reasonably needed for the venture in which the Vessel was engaged.

         10.     Under the terms of the Vessel’s insurance coverage, the American Club provided

 the Vessel with P&I insurance for which the Defendant Vessel owes Plaintiff the American Club

 mutual premium and other non-premium expenses for the Policy Periods.

         11.     As of August 5, 2022, the Vessel owes the American Club the sum of $74,829.68

 for necessaries, plus $3,500.00 for a P&I condition survey, or a total of $78,329.68, exclusive of

 interest. See Statement of Account and Invoices attached as Composite Exhibit “A.”

         12.     The charges for these necessaries provided to the Vessel are reasonable and in line

 with prevailing market rates for similar services.

         13.     Pursuant to the American Club’s Class I, Rule 4, Section 11, “interest at the rate of

 1% per month shall be payable on any premium or other sums due to” the American Club.

         14.     Pursuant to the American Club’s Class I, Rule 1, Section 4.50(c), the American

 Club has a contractual right to “reasonable legal fees, collection expenses and other costs of

 recovering all amounts . . . plus interest . . . .”
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                            COUNT II – ADMIRALTY RULE B CLAIM

         15.     Plaintiff the American Club re-alleges and re-avers the allegations contained in

 paragraphs 1–14 as if fully set forth herein.

         16.     On information and belief, Monarch Shipping Co. is a non-resident of this District

 and is not amenable to suit or service in this District but does possess property within this District

 subject to attachment and garnishment, to wit, the Defendant Vessel, the M/S MONARCH

 PRINCESS.

         17.     Monarch Shipping Co. is indebted to the American Club in the total amount of

 $141,056.45, exclusive of interest, for P&I insurance services provided to Monarch Shipping Co.’s

 vessels.

         18.     Due demand has been made upon Monarch Shipping Co. for the payment of the

 sums the American Club alleges are due in the sum of $130,356.45 for unpaid premiums, plus

 $10,700.00 for P&I condition surveys, or a total of $141,056.45, exclusive of interest. See

 Statements of Account and Invoices attached hereto as Composite Exhibit “A,” but Monarch

 Shipping Co. has failed to pay the American Club these sums.

         19.     The American Club has duly performed all of its obligations under its contracts of

 insurance, and has an attachment lien against the Defendant Vessel for Monarch Shipping Co.’s

 breach and for all monies owed.

         20.     Pursuant to the American Club’s Class I, Rule 4, Section 11, “interest at the rate of

 1% per month shall be payable on any premium or other sums due to” the American Club.

         21.     Pursuant to the American Club’s Class I, Rule 1, Section 4.50(c), the American

 Club has a contractual right to “reasonable legal fees, collection expenses and other costs of

 recovering all amounts . . . plus interest . . .”
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           22.   The American Club is entitled to an order of attachment and garnishment of any

 and all property of Monarch Shipping Co. within this District.

           WHEREFORE, Plaintiff the American Club prays as follows:

           A.    That process in due form of law according to the rules and practice of this Court in

 causes of admiralty and maritime jurisdiction be issued against the Vessel, her engines, tackle,

 apparel, and appurtenances, etc., in rem, citing it to appear and answer the matter aforesaid;

           B.    That process in due form of law according to the practice of this Honorable Court

 in causes of admiralty and maritime jurisdiction may issue against Monarch Shipping Co., citing

 them to appear and answer under oath all and singular the matters aforesaid.

           C.    That pursuant to Supplemental Admiralty Rules C and E, a warrant of arrest be

 issued against the Vessel;

           D.    That all persons claiming any interest in the Vessel may be cited to appear and

 answer the matters aforesaid, that said Vessel may be condemned and sold to pay the demands

 aforesaid and to pay any other amounts to be paid to Plaintiff, and that Plaintiff have such other

 and further relief as in law and justice it may be entitled to receive;

           E.    That the maritime liens on said Vessel be declared to be valid and subsisting, and

 superior to the interest, liens or claims of any and all persons, firms or corporations whatsoever,

 except such persons, firms or corporations as have preferred maritime liens over said Vessel;

           F.    That all persons, firms, and corporations claiming any interest in said Vessel are

 forever barred and foreclosed of all right or equity of redemption or claim of, in, or to said liened

 Vessel;

           G.    That this Court direct the manner in which actual notice of the commencement of

 this suit shall be given by Plaintiff to the master, ranking officer or caretaker of said Vessel, and
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 to any persons, firms or corporations having interest therein;

        H.      That this Court issue an order of attachment and garnishment of any and all property

 of Monarch Shipping Co. in the event it cannot be found within this District, and that said goods

 and chattels, and in particular the Vessel, now within this District, may also be attached by process

 of foreign attachment as the property of the respondent who owns same;

        I.      That judgment be entered in favor of Plaintiff the American Club against the

 Defendant Vessel for necessaries due in the principal amount of $78,329.68, plus any additional

 amounts which accrue prior to arrest, plus penalties, interest, costs, and any other damages which

 may be recoverable by law;

        J.      That judgment be entered in favor of Plaintiff the American Club against Defendant

 Monarch Shipping Co. for all amounts due for mutual premium and other non-premium expenses

 in the principal amount of $141,056.45, plus any additional amounts which accrue prior to arrest,

 plus penalties, interest, costs, and any other damages which may be recoverable by law;

        K.      That the Vessel be condemned and sold to satisfy Plaintiff’s aforesaid liens,

 together with all pre- and post-judgment interest, costs, attorneys’ fees, and expenses;

        L.      That Plaintiff be authorized to credit bid all or part of its judgment at any Court

 ordered sale of the Vessel in lieu of cash;

        M.      That the proceeds of the sale of the subject Vessel be disbursed and applied to pay

 the outstanding amounts due to Plaintiff; and

        N.      That Plaintiff be awarded any other and further relief as this Court may deem just

 and proper.

                      [SIGNATURE BLOCK ON THE FOLLOWING PAGE]
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       Dated: August 12, 2022       Respectfully submitted,

                                    /s/ Madison E. Wahler
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